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 2
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 3   385 First St., Ste. 215
     Lake Oswego, OR 97034
 4   Telephone: 503-594-0333
     Fax: 503-697-0841
 5
            Of Attorneys for Plaintiffs
 6

 7
                              IN THE UNITED STATES DISTRICT COURT
 8
                                     FOR THE DISTRICT OF OREGON
 9
                                          EUGENE DIVISION
10

11
     DORENE GOIN, personally, and DORENE
                                     )                   Case No.: 6:18-cv-1788
12
     GOIN, as Personal Representative of the
                                     )
13   ESTATE OF VICTOR GOIN,          )
                                     )                   COMPLAINT
14              Plaintiffs,          )
                                     )                   Federal Tort Claim (28 U.S. Code §
15        vs.                        )                   1346(b)(1))
                                     )
16
     THE UNITED STATES OF AMERICA    )
17   DEPARTMENT OF VETERANS AFFAIRS, )
                                     )
18              Defendant            )
                                     )
19

20

21

22

23   Plaintiffs allege as follows:

24                                    JURISDICTION AND VENUE
25
                                                    1.
26
            This Court has jurisdiction pursuant to 28 U.SC. § 1346(b)(1).

     PAGE 1 –COMPLAINT                                                              Wm. Keith Dozier, LLC
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 1                                                   2.
 2
             Plaintiff served defendant with a Tort Claim Notice on behalf of herself and more than
 3
     six months have passed with no agency action.
 4
                                                     3.
 5
             Plaintiff served defendant with a Tort Claim Notice on behalf of the Estate of Victor
 6

 7
     Goin and it subsequently administratively denied. The denial was appealed and more than six

 8   months have passed since that time.

 9                                                   4.
10           All of the relevant acts and omissions of defendant alleged herein were committed in the
11
     State of Oregon.
12
                                                 PARTIES
13
                                                     5.
14
             Plaintiff Dorene Goin is a resident of the State of Oregon. The Circuit Court of Jackson
15

16
     County, State of Oregon, has appointed her Personal Representative of the Estate of Victor Goin.

17                                                   6.

18           Defendant is a federal governmental agency.
19                                    COMMON ALLEGATIONS
20
                                                     7.
21
             Mr. Goin was a veteran receiving medical care at the VA Hospital in Roseburg, Oregon.
22                                                   8.
23           On or about May 19, 2015 Mr. Goin was referred to an outside medical provider for

24   medical care. As part of that care the outside provider conducted a CT imaging study of Mr.

25
     Goin’s abdomen. That imaging study indicated an infrarenal abdominal aortic aneurysm and a
     separate large right common iliac artery aneurysm. The iliac artery is a branch of the abdominal
26
     aortic artery.

     PAGE 2 –COMPLAINT                                                            Wm. Keith Dozier, LLC
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 1                                                   9.
 2            The outside radiologist interpreting the CT study of May 19, 2015 noted the abdominal
 3   aortic aneurysm to be 4.4 centimeters in size and the large common iliac artery aneurysm to be

 4   “at least” 5.7 centimeters. The outside radiologist recommended an additional CTA study of Mr.
     Goin’s abdomen and pelvis to better view these abnormalities.
 5
                                                    10.
 6
              The exam images and radiology report for the CT study of May 19, 2015 were included
 7
     in Mr. Goin’s medical chart at the Roseburg VA Hospital and available for review by his care
 8
     providers there.
 9                                                  11.
10            On May 26, 2015, Mr. Goin’s care provider at the Roseburg VA Hospital reviewed Mr.
11   Goin’s medical records and noted the finding of an aortic aneurysm in the CT study of May 19,

12   2015. As a result, that care provider asked that Mr. Goin be informed that he would need an

13
     ultrasound imaging study to be conducted twelve months later to monitor an abdominal aortic
     artery aneurysm. There was no offer of a surgical consultation, endovascular management
14
     consultation, or any other follow-up regarding the abdominal aortic artery aneurysm. There was
15
     no mention made by the care provider of the large iliac artery aneurysm – to Mr. Goin or
16
     anywhere in his medical records.
17
                                                    12.
18            From that date forward the diagnosis of a 4.4 cm abdominal aortic aneurysm was noted in
19   the “Problem List” of Mr. Goin’s medical chart at the Roseburg VA Hospital. The large
20   aneurysm of the iliac artery was never included in the “Problem List” of Mr. Goin’s medical

21   chart.
                                                    13.
22
              Mr. Goin was not informed of the need for a follow up CTA to fully evaluate the vascular
23
     abnormalities. His care providers at the Roseburg VA Hospital ordered no such study.
24
     ///
25
     ///
26
     ///


     PAGE 3 –COMPLAINT                                                            Wm. Keith Dozier, LLC
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 1                                                   14.
 2          On February 11, 2016, Mr. Goin was admitted to the Emergency Department at Yuma
 3   Regional Medical Center for complaint of severe right flank pain. The large iliac artery

 4   aneurysm had ruptured and was hemorrhaging blood.
                                                     15.
 5
            On February 12, 2016, Mr. Goin underwent a surgical procedure to stop the internal
 6
     bleeding and repair the ruptured aneurysm. He had severe ischemia of the right leg and
 7
     revascularization was attempted, but was unsuccessful. As a result, Mr. Goin’s right leg was
 8
     amputated above the knee.
 9                                                   16.
10          In the days that followed Mr. Goin received critical care but was unable to recover. On
11   February 16, 2016 he suffered bilateral pulmonary embolisms and died of respiratory failure and

12   hypoxia.

13
                                                     17.
            Prior to his death Mr. Goin suffered severe physical pain and mental suffering and
14
     anguish as a result of Defendant’s negligence, all to his non-economic damages in an amount to
15
     be determined at trial.
16
                                                     18.
17
            Mr. Goin incurred $174,207.50 in medical bills for the treatment of the ruptured iliac
18   aneurysm and resulting complications occurring prior to his death.
19                                                   19.
20          Mr. Goin’s Estate has suffered a loss of income due to Mr. Goin’s death in an amount to

21   be determined at trial.
                                                     20.
22
            Prior to Mr. Goin’s death Mrs. Goin suffered through observing her husband’s own
23
     suffering. She suffered the fear of severe debilitating injury or death to her husband. After Mr.
24
     Goin’s death Mrs. Goin has suffered emotionally for the loss of her husband and life companion.
25
     These are her non-economic damages.
26
     ///


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 1                                   FIRST CLAIM FOR RELIEF
 2
                                     (Negligence – Wrongful Death)
 3
                                                    21.
 4
            Defendant, through the acts and omissions of its agents, was negligent in one or more of
 5
     the following ways that caused Mr. Goin’s injuries, damages, and death:
 6

 7
            a. In failing to conduct a physical examination or imaging studies to evaluate the

 8              abdominal aortic aneurysm and iliac artery aneurysm after they were diagnosed on

 9              May 19, 2015;
10          b. In failing to otherwise monitor Mr. Goin’s aneurysms in any other way prior to his
11
                death;
12
            c. In failing to refer Mr. Goin for a surgical consultation or an endovascular
13
                management consultation;
14
            d. In failing to fully inform Mr. Goin of the dangers presented by the abdominal aortic
15

16
                aneurysm and the iliac artery aneurysm;

17          e. In failing to have their own radiologist or another outside radiologist review the CT

18              imaging study of May 19, 2015 to evaluate and measure the abdominal aortic
19              aneurysm and iliac artery aneurysm;
20
            f. In failing to accurately and fully note the findings of the May 19, 2015 CT imaging
21
                study in Mr. Goin’s medical record “Problem List”;
22
            g. In failing to accurately and fully inform Mr. Goin’s outside care providers of the
23
                abdominal aortic aneurysm and iliac artery aneurysm diagnosed on May 19, 2015;
24

25              and

26



     PAGE 5 –COMPLAINT                                                            Wm. Keith Dozier, LLC
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 1          h.    In failing to follow applicable guidelines and standard practices for the screening,
 2
                 monitoring, and management of abdominal aortic aneurysms and iliac artery
 3
                 aneurysms.
 4
                                     SECOND CLAIM FOR RELIEF
 5
                                            (Loss of Consortium)
 6

 7
                                                      22.

 8          As a result of defendants’ negligence, Mrs. Goin suffers the loss of her normal

 9   companionship, support, and society of her husband all to her economic and non-economic
10   damage as described herein.
11
                                      THIRD CLAIM FOR RELIEF
12
                                (Negligent Infliction of Emotional Distress)
13
                                                      23.
14
            As a result of defendant’s negligence, Mrs. Goin suffered and suffers the mental distress
15

16
     of her having observed her husband’s suffering and death.

17

18   WHEREFORE, Plaintiffs pray for judgment as alleged in each claim stated above.
19

20
        DATED this 9th day of October 2018.
21
                                                            Wm. Keith Dozier, LLC
22
                                                            and
23
                                                            Mark R. Bocci
24

25                                                          /s/ Wm. Keith Dozier, Jr.
                                                            Wm. Keith Dozier, Jr., OSB #012478
26                                                          Of Attorneys for Plaintiff


     PAGE 6 –COMPLAINT                                                              Wm. Keith Dozier, LLC
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